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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:22-CV-00389-DCN

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I)

This summons for Micah Eigler
was recieved by me on 9/26/2022:

| personally served the summons on the individual at ABC TO SKIP (CA), ABC TO SKIP (CA), Service Notes: LAST
KNOWN ADDRESS: 6208 Enfield Avenue, Los Angeles, CA 91316, ABC TO SKIP (CA), Service Notes: LAST
KNOWN ADDRESS: 6208 Enfield Avenue, Los Angeles, CA 91316, CA 91316 on 09/27/2022: or

O

| left the summons at the individual's residence or usual place of abode with (name) , a person of suitable age and
discretion who resides there, on , and mailed a copy to the individual's last known address; or

Oo | served the summons on (name of individual) , who is designated by law to accept service of process on behalf of (name
of organization) ; or

O | returned the summons unexecuted because ; or

Other (specify)

My fees are $ 0 for travel and $ 171.50 for services, for a total of $ 171.50.

| declare under penalty of perjury that this information is true.

Date: 09/27/2022

YO

Server's signature

Edward Chavez
Printed name and title

14338 Tiara Street
Van Nuys, CA 91401

Server's address

Additional information regarding attempted service, etc:
I delivered the documents to Micah Eigler with identity confirmed by subject saying yes when named. The individual

accepted service with direct delivery. The individual appeared to be a bald white male contact 45-55 years of age, 5'6"
-5'8" tall and weighing 160-180 Ibs with glasses.

lit ni
